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USA

   Tales from inside Rikers, the
   notorious NYC jail set to close
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     Emmanuel Dunand, AFP | A view of buildings at the Rikers Island penitentiary complex in New
York on May 17, 2011.

Text by:Sam BALL
, correspondent in New York – New York's notorious Rikers Island jail complex has
been plagued by allegations of corruption, violence and human rights abuses,
and plans are now in place to shut it down for good. Few who have passed
through its gates will be sad to see it go.


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There is a smell to prison, says Johnny Perez, a former detainee at Rikers Island -- the vast 400-
acre jail complex named for the speck of land adrift in New York's East River on which it sits. It is the
kind of smell that "sticks to your clothes", he says – "toxic, like sewage mixed with cheap
disinfectant".
The first time Perez was confronted by that distinct odour he was 16 years old, arriving at Rikers for
what would turn out to be a year-long stretch on gun possession charges. He would find himself
back there a number of times over the next five years, for offences ranging from loitering to
trespassing and drug possession, most recently in 2011.


On the bus ride to the prison complex – a collection of 10 detention facilities located between the
Bronx and Queens and connected to the mainland by a solitary, narrow bridge – he was not sure
exactly what he would find when he arrived. But he knew it would not be good.


"I had heard people who had come out of Rikers Island and they would talk about the horrors that
they'd experienced," he says.


Welcome to the 'butcher's shop'


Since an explosion of violence during the New York crack epidemic of the late 1980s and early '90s,
reports of brutal treatment of those incarcerated at Rikers, beatings meted out by gangs and guards,
and sexual abuse and rights violations have never been far from the media.
Despite efforts over the years to improve security and an increased scrutiny of conditions at Rikers,
a report released this month found that incidents of violence actually rose from 2016 to 2017.
For some time, activists and campaign groups have argued that the only way to really deal with the
problems at Rikers was to shut it down entirely. City and state officials, most notably New York
Mayor Bill de Blasio, have recently come to agree.
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In March last year, following the findings of an independent commission on justice reform in New
York that concluded "Rikers Island must be closed", Mayor de Blasio announced his intention to end
the use of Rikers Island as a detention facility in the next 10 years.
Last month, the plan to do so began to take shape, with city officials unveiling the sites of four new
jails across the city to replace Rikers once it has been shut down.
For Perez, the first confirmation of his fears came when he was assigned to a housing area. A
correctional officer (CO) told him he was going to a place called "the butcher's shop".


"I thought he was talking about a kitchen or something," Perez says. "But he said no, that's just what
they call the housing area, it's where most of the slashings and cutting at Rikers take place."


History of violence


Five Mualimm-Ak first came through Rikers in the early '90s, at the tail end of the crack epidemic,
when life at the jail was perhaps at its most savage and gang violence was rife.


"It was just a place where it was like gladiators, where if you didn't know how to fight, didn't have a
weapon, you better get one," recalls Mualimm-Ak, now 44 and a criminal justice reform campaigner.
"On my first day, someone got stabbed right there and then. He was just there bleeding in the corner
of the cell."


Mualimm-Ak would serve subsequent spells at Rikers for various offences up until 2007, during
which time he saw how the jail evolved. The structures that had allowed gangs to take control had, in
later years, become part of the "regular routine", he says. "It grew worse and worse."


COs would often let gang leaders hand out violent punishments for infractions, rather than get their
hands dirty.


"Let's say I'm the officer and you’re the person incarcerated, if I have a problem with you, you're
getting on my nerves or whatever, I'll have gang members just beat you up, so I don't have to get
into an altercation with you," he says.


But direct confrontations between COs and detainees are also a problem.


Back in 2012 an inmate called Ronald Spear died at the hands of a CO, while last month the brutal
beating of a correctional officer by a group of inmates reportedly left the CO in hospital with a spinal
fracture.
"I've got countless examples," Perez says. "I've been in situations where I've seen COs pin two
people together and have them fight each other."


On another occasion, he recalls being punished for fighting with another detainee in the bathroom.
"The CO just made us stand with our hands against the wall facing the wall and punched us in the
kidneys."


'A different type of alone'
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Inmates also have to contend with the poor condition of an ageing and, according to those who have
spent time there, dilapidated jail complex.


"It's not uncommon to walk into a cell and the paint is coming off the walls," says Perez. "There are
roaches – definitely roaches – mice and rats.


"I've had mice climb up on the bed that I'm sleeping on and that's one of the scariest things ever."


And with no air conditioning and inadequate heating, cells can get unbearably hot in the summer
months, says Perez, and freezing in the winter.


For many at Rikers though, there is a fear bigger than those posed by the rats, gangs and COs:
being sent for a spell in "the box" – that is, solitary confinement.




"Solitary is a different type of alone," says Mualimm-Ak, who spent six months isolated for 23 hours a
day in a 10-foot by 10-foot concrete solitary confinement cell at Rikers.


"Everyone's screaming, yelling, it's just like a madhouse, a whole different world. I felt like I was
alone in a crowd. It's torture."


To keep himself busy, Mualimm-Ak would draw on the walls and play solitaire with a homemade
deck of cards.


"And you do that until it gets boring, then you talk to yourself until that gets boring too," he says.
"After months and months of that, you end up making friends with the rats and the roaches that
come into your cell."


Efforts have been made to reduce the numbers in solitary confinement in New York City facilities in
recent years, including a ban on using it as a punitive measure for those aged 21 and under.
But the practice continues, even as mental health experts have long warned of the psychological toll
it can have on detainees.


"We would say in there that, even if they had no mental health issues when they came into solitary,
they do now," says Mary Buser, a former assistant chief of mental health at the solitary confinement
unit in Rikers, a job she held for five years before leaving in 2000.


Her team would dispense medication "by the wheelbarrow load" to help detainees cope with the side
effects of solitary, such as depression and hallucinations.


Even so, they would often go to extremes to try to be taken out of solitary – including attempting
suicide.
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"I saw a lot of makeshift nooses," says Buser, who has since written a book, "Lockdown on Rikers",
about her experience.


'The rapist next door'


Despite the litany of allegations of abuse and mistreatment, not everybody supports the idea of
closing Rikers down. Among its chief critics is the main correctional officers' union in New York, the
Correction Officers’ Benevolent Association (COBA), which has labelled Mayor de Blasio's plans for
closing Rikers a "fantasy" and a "Jedi mind trick", distracting from what it claims should be the real
focus: improving safety at the jail complex.


To that end, the union has fought against efforts to limit the use of solitary confinement and argued
for reversing the ban on using it for prisoners aged 21 and under.


COBA's head Elias Husamudeen has also questioned the mayor's plan to open up smaller jails in
locations around New York city to replace Rikers; this will bring criminals into dangerous proximity
with the city's general population, he argues.


"The guy that shot the 5-year-old, you want him in a jail next door to the mother, to the father?" he
has asked. "You want him in the community, the one that raped the old lady? You want him next
door?"


Meanwhile, the New York City Department of Correction – the body tasked with managing the city's
system of jails, of which Rikers is by far the largest – has been implementing an extensive reform
programme for the past three years aimed at increasing safety for both inmates and staff. This has
included increasing the ratio of COs to inmates, training staff on the use of non-lethal force in
emergency situations and installing more CCTV cameras to monitor the prison population.


Nevertheless, the department's head, Cynthia Brann, has admitted there is still much work to do.


"There are still too many officers being assaulted. There are still too many uses of force and fights.
There are far too many stabbings and slashings. We must always work to do better," she told a New
York City Council committee last October.


Awaiting trial


But reform, some argue, should start before an individual has even set foot inside Rikers. The
"terrible injustice" of the prison complex, as psychiatrist Buser puts it, is that many of those held
there may not actually be criminals at all.


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Of the roughly 10,000 inmates held at Rikers daily, about 85 percent have not been convicted of a
crime but are awaiting trial, either because they were not granted bail or were unable to pay it. In
some cases those detained waited years for their day in court, only to be found innocent.
Buser and others believe this is a deliberate ploy to pressure the accused to accept plea bargains
rather than fight to clear their names. "They know Rikers will wear you down and they know people
will just cop out to anything," she says.


And it is problems like this – a lack of speedy access to trials, the bail system itself, a culture of
brutality in jails – that threaten to continue to plague the justice system in New York, even after the
gates of Rikers slam shut a final time, according to Busy, Perez, Mualimm-Ak and others.


"When Rikers closes, it will definitely be a day to celebrate and I will be drinking champagne on that
day," says Perez. "But if we don't make the necessary policy changes that we need and the cultural
shift that we need, we could see the same problems happening again, years from now."


"But they'll never be another place like Rikers."
